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                                                                                                                      EXHIBIT 71



                                              PARIS COURT OF APPEAL
                                            Paris Judicial Tribunal

               Office of Margaux PEGIS                         The Examining Magistrate of the Paris Judicial Tribunal _______ _
                                                                                                   f --··
                Examining Magistrate
                                                               to

Parquet No.           : 24103000192
Case No.              : JI Jl302 24000010
Justice ID            : 2401386847V
                                                               PARIS Arnaud
                                                               13 rue Ferdinand Duval
                                                               75004 PARIS




                               NOTICE TO VICTIMS TO FILE CIVIL SUIT

Pursuant to the provisions of article 80-3 of the French Code of Criminal Procedure, I have the honor of informing you
that following the events of which you were the victim, a judicial investigation has been opened in my office against:

BROWN Heidi

for:
- REMOVAL OF A CHILD FROM THE CUSTODY OF THOSE RESPONSIBLE FOR ITS CARE AND RETENTION
OUTSIDE FRANCE
Acts committed in PERPIGNAN or in any case within the territory of FRANCE and in SPAIN, MOROCCO, and the
UNITED STATES, from April 9, 2024 to May 23, 2024, and since time not covered by the statute of limitations, with
regard to Juliette PARIS born on January 15, 2015 and Eva PARIS born on January 15, 2015, to the detriment of
Arnaud PARIS, acts envisaged under ART.227-9 2° and ART.227-7 of the French Code of Criminal Procedure and
punishable under ART.227-9 AL. 1, ART.227-29 of the French Code of Criminal Procedure.

xx
~                                                                                               .
- COMPLICITY IN THE REMOVAL OF A CHILD FROM THE CUSTODY OF THOSE RESPONSIBLE FOR ITS
CARE AND RETENTION OUTSIDE FRANCE
Acts committed in PERPIGNAN or in any case within the territory of FRANCE and in SPAIN, MOROCCO, and the
UNITED STATES, from April 9, 2024 to May 23, 2024, and since time not covered by the statute of limitations, with
regard to Juliette PARIS born on January 15, 2015 and Eva PARIS born on January 15, 2015, to the detriment of
Arnaud PARIS, acts envisaged under ART.227-9 2° and ART.227-7 of the French Code of Criminal Procedure and
punishable under ART.227-9 AL. 1, ART.227-29 ofthe French Code of Criminal Procedure and in regard to ART.121-
6 and 121-7 of the ART .121-6 and 121-7 of the Code of Criminal Procedure.

of which you were the victim has been opened in my office at the

Paris Judicial Tribunal
Parvis du Tribunal de Paris 75859 PARIS

         that you have the possibility of filing a civil suit, either:

1.        by sending a registered letter to the clerk's office of my firm, mentioning the case references, your first and
last name, your date and place of birth, and your current address.
In this case:
          You must declare an address, either personal or with a third party (enclose the latter's agreement).
          You can appoint a lawyer or ask for one to be appointed for you.




                                            Paris Judicial Tribunal
                             PARVIS DU TRIBUNAL DE PARIS 75859 PARIS CEDEX 17
                                           Phone 'Ji' : 0144325792


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2.       by coming to my office to fill out a declaration.
3.       by logging on to www.justice.fr to fill in the online form.

          If necessary, you can receive free legal advice from a legal advice center or victims' assistance office:

The Victims' Assistance Office is open Monday to Friday from 9 am to 12 pm and from 1 pm to 5 P,m, wit~!2.Yt·S'S\.'\\\', ..
appointment, and is staffed by the Paris Victims Assistance Association.                       :   .rf~~·w:.l\'.1aiors ~-i,;,.,
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                                                                                               i ;!/. '--½
                                                                                                                Wf   '\"-
• Legal advisors on duty: Every day                                                                                       ·<1, ;~1,
• Psychological support: Tuesday - Wednesday morning - Friday                                  :               ;tf
                                                                                                            c..,a;,.,, ·~?,;.\\
• Social assistance hours : Monday - Wednesday afternoon - Thursday                            l6 / ..         ~                   ?5_        i~
                                                                                                    :~ l.
T_h~ BA"'. [Victi~s• Assistance Of!ice] is open all year round, and provides in-person and telephon~ ~~sistance'fo                       •)      i}
                                                                                                                                                    ~
vIctIm_s via dedicated telephone Imes:                                                                     i -;,\ ~                 ~         j..?
Land~me number: 01 _44 3~ 7~ 08_                                                                           :    'it,. (;,71 ; , - - .~~,~ .:..,4'
e-mail address: bav.tJ-pans@iust1ce.fr                                                                     !        \.i'.i_J.{~~,;_~}1-::,<::-·•

Signage has been installed around the south atrium of the Paris Judicial Tribunal as well as on the main;,c'f ":""'' cc,·.-,u-; ,.,,,
thoroughfares used by the public.                                                                  ~ •           • •

                                                         Signed in our offices on May 31, 2024
                                                         The Examining Magistrate
                                                         [Signature]
                                                         Margaux PEGIS
                                                         [Seal of the Paris Judicial Tribunal]



This notice was sent by e-mail to Mr. PARIS on May 31, 2024
The Clerk
[Signature]




                                              Paris Judicial Tribunal
                               PARVIS DU TRIBUNAL DE PARIS 75859 PARIS CEDEX 17
                                             Phone 'Ji : 0144325792

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                                            COUR D'APPEL DE PARIS
                                    Tribunal judiciaire de Paris

              Cabinet de Margaux PEGIS                   Le juge d'instruction du Tribunal judiciaire de Paris
                  juge d'instruction                     a

 N° Parquet         : 24103000192
 N° dossier         : JI Jl302 24000010
 ldentifiantjustice : 2401386847V
                                                         PARIS Arnaud
                                                         13 rue ferdinand Duval
                                                         75004 PARIS




                AVIS A VICTIME DE SE CONSTITUER PARTIE CIVILE

En application des dispositions de !'article 80-3 du code de procedure penale, j'ai l'honneur de vous faire
connaitre qu'a la suite des faits dont vous avez ete victime, a ete ouverte      a
                                                                              mon cabinet une information
judiciaire centre :
BROWN Heidi
du chef de:

- SOUSTRACTION D'ENFANT DES MAINS DE CEUX CHARGES DE SA GARDE ET RETENTION HORS DE
FRANCE
Faits commis a PERPIGNAN en tout cas sur le territoire national et en ESPAGNE, au MAROC, aux ETATS
UNIS, du 9 avril 2024 au 23 mai 2024, et depuis temps non couvert par la prescription, a l'egard de Juliette
PARIS nee le 15 janvier 2015 et Eva PARIS nee le 15 janvier 2015, au prejudice d'Arnaud PARIS faits prevus par
ART.227-9 2°, ART.227-7 C.PENAL. et reprimes par ART.227-9 AL 1, ART.227-29 C.PENAL.


xx
du chef de:


- COMPLICITE DE SSOUSTRACTION D'ENFANT DES MAINS DE CEUX CHARGES DE SA GARDE ET
RETENTION HORS DE FRANCE
Faits commis a PERPIGNAN'en tout cas sur le territoire national et en ESPAGNE, au MAROC, aux ETATS
UNIS, du 9 avril 2024 au 23 mai 2024, et depuis temps non couvert par la prescription, a l'egard de Juliette
PARIS nee le 15 janvier 2015 et Eva PARIS nee le 15 janvier 2015, au prejudice d'Arnaud PARIS faits prevus par
ART.227-9 2°, ART.227-7 C.PENAL. et reprimes par ART.227-9 AL.1, ART.227-29 C.PENAL. et vu les articles
121-6 et 121-7 du code penal

dans laquelle vous etes victime,a ete ouverte a mon cabinet au

         Tribunal judiciaire de Paris
         Parvis du Tribunal de Paris 75859 PARIS

     gue vous avez la possibilite de vous constituer partie civile. soit :

1.  par l'envoi d'une lettre recommandee adressee au greffe de mon cabinet, mentionnant les references de
    l'affaire, vos nom et prenom, vos date et lieu de naissance, votre adresse actuelle.
Dans ce cas:
    Vous devez declarer une adresse, soit personnelle, soit chez un tiers (joindre !'accord de ce dernier).
    Vous pouvez designer un avocat ou demander a ce qu'un avocat d'office vous soit designe.


                                          Tribunal judiciaire de Paris
                            PARVIS DU TRIBUNAL DE PARIS 75859 PARIS CEDEX 17
                                        N" telephone -S' : 0144325792

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2.    en vous depla93nt pour venir remplir une declaration au greffe de mon cabinet.
3.    En vous connectant sur www.justice.fr pour remplir le formulaire de constitution dematerialisee


         Vous pouvez beneficier, le cas echeant. gratuitement de conseils juridiques dans une structure d'acces
au droit ou au sein du bureau d'aide aux victimes :

Les permanences du Bureau d'Aide aux Victimes sont sans rendez-vous et assurees en continu, du lundi au
vendredi de 9h a 12h et de 13h a 17h00 par l'association Paris Aide aux Victimes.
• Permanence des juristes : tous les jours
• Permanence psychologique: mardi - mercredi matin - vendredi
• Permanence assistance sociale : lundi - mercredi apres midi - jeudi

Le BAV est ainsi ouvert toute l'annee, ii assure l'accueil physique et telephonique des victimes via la mise en
place de lignes telephoniques dediees :
Un numero fixe: 01 44 32 77 08
Son adresse electronique est: bav.tj-paris@justice.fr

Une signaletique est disposee aux abords de !'atrium sud du Tribunal de Paris, ainsi que dans les principales
voies de circulation du Palais et empruntees par le public.




Le pres~nt avis a ~t~ transmis par mail a M.PARIS le 31.05.24
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c--




                                            Tribunal judiciaire de Paris    .
                             PARVIS DU TRIBUNAL DE PARIS 75859 PARIS CEDEX 17
                                         N" telephone'@,•: 0144325792

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